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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

      Plaintiffs,
                                        CIVIL ACTION FILE
v.
                                        NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

      Defendants.



                               ORDER

     This matter shall come before the Court for hearing on Friday,

December 4, at 10:00 a.m., EST, in Courtroom 2106, in Atlanta. The

Court sets the following schedule: Defendants’ brief in opposition to the
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claims in Plaintiffs’ complaint will be due on Wednesday, December 2,

by 5:00 p.m. EST. Any reply brief will be due Thursday, December 3, by

5:00 p.m. EST.

     IT IS SO ORDERED this 30th day of November, 2020.



                                  ____________________________________
                                  Timothy C. Batten, Sr.
                                  United States District Judge




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